         Case 17-36817 Document 61 Filed in TXSB on 07/30/18 Page 1 of 2



                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE                                          §
                                               §
WCD LLC                                        §              CASE NO. 17-36817
                                               §                (CHAPTER 11)
        DEBTOR                                 §

                           MOTION TO APPEAR BY TELEPHONE

        COMES NOW PENDLETON CAPITAL GROUP, INC. (“Pendleton”), a secured creditor


and party in interest in the above-referenced proceeding and hereby requests that its counsel, the

undersigned, Mr. Joe Sibley, be permitted to appear by telephone at the hearing on this matter set

for August 1, 2018 at 2:00 p.m.

        Mr. Sibley has a hearing in the U.S. District Court for the Northern District of Texas set at

1 p.m. in Dallas, Texas for that same day. Because Mr. Sibley will ask that court for a brief

adjournment to call in to the hearing in this matter, Mr. Sibley will have to use his cell phone. Mr.

Sibley does not need to participate in the entirety of the hearing by phone, but would like to briefly

explain his client’s position to the Court regarding the potential conversion to Chapter 7.


        For these reasons, Pendleton respectfully requests this this Court allow its counsel to appear

briefly at the August 1, 2018 hearing via cell phone.


                                                   Respectfully submitted,

                                                   CAMARA & SIBLEY L.L.P.

                                                   _________________/s/ Joe Sibley_

                                                         Joe Sibley
                                                         State Bar No. 24047203
                                                         4400 Post Oak Blvd
         Case 17-36817 Document 61 Filed in TXSB on 07/30/18 Page 2 of 2



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                                                         Attorneys for Pendleton


                                 CERTIFICATE OF SERVICE

       This is to certify that on this the 30th day of July, 2018, a true and correct copy of the above
and foregoing Notice of Hearing was properly forwarded to all counsel of record in accordance
with the Federal Rules of Bankruptcy Procedure via ECF.



                                                                                        /s/ Joe Sibley
                                                   Joe Sibley




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